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                 UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                      www.flsb.uscourts.gov
                               CHAPTER 13 PLAN (Individual Adjustment of Debts)

                         #      2nd         Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Gonzalo De La Torre Gil                    JOINT DEBTOR: Maria J. Rioseco CASE NO.:16-21296-AJC
Last Four Digits of SS# 7302                       Last Four Digits of SS# 4129

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of       60       months. In the event the trustee does not collect
the full 10%, any portion not collected will be paid to creditors pro-rata under the plan:

        A.     $        2,286.28           for months          1          to        10     ;
        B.     $        2,138.66           for months         11           to       60     ;
        C.     $                           for months                     to                ; in order to pay the following
creditors:
Administrative:          Attorney's Fee - $3,500.00 + 2,500.00 + 750.00 + 275.00 Costs =$7,02500
                         Total Paid -    $2,100.00
                         Balance Due- $4,925.00          payable $ 492.50 /month (Months 1 to                               10 )
Secured Creditors: [Retain Liens pursuant to 11 U.S.C. '1325 (a)(5)] Mortgage(s)/Liens on Real or Personal
Property:
1.    Nationstar Mortgage                         Mortgage Mitigation Mediation (MMM) Program Proposed Payment x
Address:    350 Highland Dr                       60 months = $ 88,209.00
            Lewisville, TX 75067                  Payment     $1,470.15/month (Months 1 to 60 )
Account No:    2728

2.   Chelsea Estates HOA
Address: Pob 961239                               Regular Payments:$ 85.00/month (Months                1   to 60 )
           Miami, FL 33296
Account No:     3248

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU
PURSUANT TO BR 7004 and LR 3015-3.
     Secured Creditor         Description of Collateral and    Interest           Plan      Months of Payment         Total Plan
                                  Value of Collateral            Rate           Payments                              Payments

                           Homestead property                  0.00%            $0.00         1    To       60   $0.00
 Chelsea Estates           located at
 HOA (2nd Mtg)
 Acct # xxxxx3248          6480 SW 159 PL
                           Miami, FL 33193
                           $286,377.00

Priority Creditors: [as defined in 11 U.S.C. '507]
1. Internal Revenue Service        Total Due $3,913.90
                                   Payable $ 10.00 /month (Months 1 to 10 )
                                   Payable $ 76.28 /month (Months 11 to 60 )

Unsecured Creditors: Pay $ 293.36 month (Months 11 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: Chevrolet (2015 Chevy) lease is to be assumed. The debtor(s) is hereby advised
that the Ch.13 trustee has requested that the debtor comply with 521 (f) 1-4 on an annual basis during the pendency of this
case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax returns is modified
to be on or before May 15 each year the case is pending and that the debtor(s) shall provide the trustee with verification of
their disposable income if their gross household income increases by more than 3% over the previous years’ income.




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“The debtor has filed a Verified Motion for Referral to MMM with                Nationstar Mortgage (“Lender”), loan number
2728, for real property located at          6480 SW 159 PL, Miami, FL 33193 . The parties shall timely comply with all
requirements of the Order of Referral to MMM and all Administrative Orders/Local Rules regarding MMM. While the MMM
is pending and until the trial/interim payment plan or the permanent mortgage modification/permanent payment is
established by the parties, absent Court order to the contrary, the debtor has included a post-petition monthly plan payment
(a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly contractual mortgage
payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees due for the
property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by such
property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.
Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage
arrearage stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to
confirmation of the plan or modified plan.
If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement with
Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than 14
calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as
applicable.
If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement.
In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.
If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report
is filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof
of Claim) or (b) provide that the real property will be surrendered. If the amended or modified plan provides that the real
property is to be surrendered, then the obligations to the lender will be considered “treated outside the plan” and the lender
shall have in rem relief from the automatic stay as to the real property being surrendered. Notwithstanding the foregoing,
lender may file a motion to confirm that the automatic stay is not in effect as to the real property.
Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its
Proof of Claim.”


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                        /s                                                                    /s
Debtor                                                                        Joint Debtor
Date:           1/19/2017                                                     Date:        1/19/2017




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